      Case 1:20-cv-12152-NMG Document 1 Filed 12/02/20 Page 1 of 11




                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


AMY CLARK HUBER,
     Plaintiff,

v.

GERHARD HUBER, HUBER                                  Civil Action No.:
INVESTMENTS LIMITED, TRIDENT
TRUST COMPANY LIMITED, TRIDENT
DIRECTOR SERVICES LIMITED, and
STRATEGIC MANAGEMENT LIMITED,
     Defendants.


                                VERIFIED COMPLAINT

                                   Jurisdiction & Venue

     1. This Court has jurisdiction pursuant to 28 U.S.C. § 1332(a)(2), as there is diversity

        between the parties and the amount in controversy exceeds $75,000.00.

     2. Pursuant to 28 U.S.C. § 1391, venue is proper in the District of Massachusetts, in that

        a substantial part of the events or omissions giving rise to the claim occurred in

        Massachusetts.

                                           Parties

     3. Plaintiff Amy Huber resides at 1 Gap Head Road, Rockport, Essex County,

        Massachusetts.

     4. Defendant Gerhard Huber resides at Waldfriedhofstrasse 103, 81377, Munich,

        Germany; and, upon information and belief is currently living somewhere in Tokyo,

        Japan.

     5. Defendant Huber Investment Limited is a limited liability company registered in the

        British Virgin Islands, and its Registered Agent is Trident Trust Company (BVI)

                                              1
 Case 1:20-cv-12152-NMG Document 1 Filed 12/02/20 Page 2 of 11




   Limited located at Trident Chambers, Wickhams Cay, P.O. Box 146, Road Town,

   Tortola, British Virgin Islands.

6. At all relevant times herein, Defendant Gerhard Huber was the sole shareholder and

   had absolute control over Defendant Huber Investments Limited.

7. Defendant Trident Trust Company Limited (“Trident Trust”) is a private company

   registered in the Bailiwick of Jersey, with an address of 11 Bath Street, St. Helier,

   Jersey JE2 4ST, Channel Islands.

8. At all relevant times herein, Defendant Trident Trust was the duly elected Company

   Secretary of Defendant Huber Investments Limited.

9. Defendant Trident Director Services Limited is a private company registered in the

   Bailiwick of Jersey, with an address of 11 Bath Street, St. Helier, Jersey, JE4 8UT,

   Channel Islands.

10. At all relevant times herein, Defendant Trident Director Services Limited was a

   Director of Defendant Huber Investments Limited.

11. Defendant Strategic Management Limited is a private company registered in the

   Bailiwick of Jersey, with an address of 11 Bath Street, St. Helier, Jersey, JE4 8UT,

   Channel Islands.

12. At all relevant times herein, Defendant Strategic Management Limited was a Director

   of Defendant Huber Investments Limited.

13. At all relevant times herein, Defendant Trident Trust served as the Administrator for

   both Defendants Trident Director Services Limited and Strategic Management

   Limited.




                                         2
 Case 1:20-cv-12152-NMG Document 1 Filed 12/02/20 Page 3 of 11




14. At all relevant times herein, Defendant Trident Director Services Limited’s

   authorized signatory, as Defendant Huber Investment’s Director, was Mr. Bruce

   Ferguson.

15. At all relevant times herein, Defendant Strategic Management Limited’s authorized

   signatory, as Defendant Huber Investment’s Director, was Ms. Ann-Marie Crompton.

16. At all relevant times herein, Trident Trust’s authorized signatories, as Defendant

   Huber Investment Limited’s Corporate Secretary, were Mr. Bruce Ferguson and Ms.

   Ann-Marie Crompton.

                                       Facts

17. Plaintiff Amy Huber and Defendant Gerhard Huber were married in 1988 in

   Salzburg, Austria.

18. Amy Huber filed for divorce from Gerhard Huber on January 30, 2018. See Essex

   County Probate & Family Court, Docket No. ES18D0164DR.

19. Amy Huber and Gerhard Huber executed a Separation Agreement (“Sep. Agmt.”) on

   January 16, 2019.

20. The Essex County Probate & Family Court issued a Judgment of Divorce Nisi on

   January 17, 2019.

21. The Essex County Probate & Family Court approved the Sep. Agmt. and incorporated

   it into its Judgment of Divorce Nisi, which Ordered in relevant part that the

   Separation Agreement “shall not merge and shall remain as an independent contract.”

22. The Separation Agreement states in relevant part, under the “Divorce – Merger and

   Survival of Provisions” term:

           The provisions hereof shall not be merged in such judgment but shall survive
           the same, shall have independent legal significance and shall be forever


                                         3
 Case 1:20-cv-12152-NMG Document 1 Filed 12/02/20 Page 4 of 11




           binding on the parties hereto and their respective . . . assigns . . . and other
           legal representatives and upon others succeeding to or standing in place of or
           holding under a party, whether by act of the party or by operation of law . . ..

23. The Separation Agreement is a Massachusetts contract and subject to interpretation

   pursuant to Massachusetts law.

24. The Separation Agreement states in relevant part:

           [T]he courts of Massachusetts shall have exclusive jurisdiction (both subject
           matter and personal jurisdiction) relative to any disputes or other matters
           arising under or related to this Agreement so long as one or both parties
           resides in Massachusetts. Each party irrevocably submits and consents to
           such jurisdiction . . . and each party irrevocable waives . . . (i) any objection
           he or she may have or hereafter have to designating the jurisdiction and venue
           of any action, suit or proceeding related to this Agreement and (ii) any claim
           that such action, suit or proceeding has been brought in an inconvenient
           forum.

25. Defendant Gerhard Huber expressly consented to the courts of Massachusetts having

   exclusive subject matter jurisdiction and personal jurisdiction relative to disputes

   regarding the Sep. Agmt.

26. Defendant Gerhard Huber expressly waived any objection he may have to the courts

   of Massachusetts having personal jurisdiction over disputes regarding the Sep. Agmt.,

   as well any objections he may have relating to the courts of Massachusetts being an

   inconvenient forum.

27. The Separation Agreement states in relevant part, under the “Closely-Held

   Investments” section, “[Defendant Gerhard Huber] holds 100% limited interest in

   Huber Investments, Ltd. . . . [which] holds title to 7 Cedar Park Garden, London,

   England” (hereinafter the “London Property”).

28. The Separation Agreement in relevant part states “The husband shall receive [the

   London Property subject to his obligation to pay off the first mortgage on the [Marital



                                         4
             Case 1:20-cv-12152-NMG Document 1 Filed 12/02/20 Page 5 of 11




               Residence at 1 Gap Head Road, Rockport, Massachusetts] (hereinafter the “Rockport

               Property”).

           29. The Separation Agreement in relevant part states “Huber Investments has retained

               Savills as the sales agent and Savills has listed the property for sale.”

           30. The Separation Agreement provides that after the London property’s mortgage

               (£2,500,000.00) is paid off to Huber Investments Limited, Gerhard Huber must pay

               off the first mortgage on the Rockport Property ($560,209.00).

           31. At all relevant times herein, Defendant Gerhard Huber exercised rights of and created

               duties and obligations for Defendant Huber Investments Limited, within the Sep.

               Agmt.

           32. The duties and obligations which Defendant Gerhard Huber placed on Defendant

               Huber Investments Limited, likewise placed duties and obligations under the Sep.

               Agmt. on Defendants Trident Trust, Trident Director Services Limited, and Strategic

               Management Limited, in their respective capacities.

           33. At all relevant times herein, Defendants Trident Trust, Trident Director Services

               Limited, and Strategic Management Limited knew of their respective duties and

               obligations, as discussed in the preceding paragraphs.

           34. The London Property sold on November 2, 2020 for £3,075,000.00 (or

               $4,101,911.631).

           35. Defendant Huber Investments Limited have provided a proposed “Completion

               Statement” from the sale of the London Property, and it includes the following:

             All figures shown in £                                        PAYMENTS          RECEIPTS
            Sale Price of London Property                                                   3,075,000.00

1
    Conversion rate as of November 30, 2020, via Google Finance: 1 Pound sterling = 1.33 Unites States Dollars.

                                                          5
 Case 1:20-cv-12152-NMG Document 1 Filed 12/02/20 Page 6 of 11




 Charge inclusive of VAT at 20%                          6,000.00
 Telegraphic transfer inclusive of VAT at 20% x 2          72.00
 Land Registry copying fees                                18.00
 Agents commission inclusive of VAT at 20%               55,350.00
 Redemption of mortgage                                2,625,767.35
 D & D Law fee in relation to Company Report - BVIs       150.00
 Trident Trust invoices                                  38,060.40
 Service charge apportionments from buyer                                342.85
 Gregsons Fees - License                                  660.00
 License Fee - Conservators (from Buyer)                                3,317.14
 License Fee - Conservators (Buyer)                      3,317.14
 Service Charge - Cedar Park                             2,121.00
 AML Search                                                24.00
 Fees for Legal Opinion                                  2,902.40
 TOTAL                                                 2,734,442.29   3,078,659.99
 Balance due Hubert Investments Limited:               £344,217.70


36. Defendant Huber Investments Limited is currently holding the proceeds from the sale

   of the London Property in escrow.

37. The amount of the proceeds from the sale of the London Property, or what remains in

   escrow is £380,387.65, or $510,290.03, see supra at n.1, which is approximately

   $50,000.00 less than what is provided for within the Sep. Agmt.

38. Defendants have yet to transfer any of the proceeds of this sale to Plaintiff Amy

   Huber in accordance with the Sep. Agmt.

39. Despite Defendant Gerhard Huber stating in the Sep. Agmt. and in his financial

   disclosures that the outstanding mortgage on the London Property was £2,500,000.00,

   it was over one hundred thousand Pounds sterling greater than that (£2,625,767.35),



                                            6
 Case 1:20-cv-12152-NMG Document 1 Filed 12/02/20 Page 7 of 11




   further reducing the amount available to Plaintiff Amy Huber pursuant to the Sep.

   Agmt. by £125,767.35, or $167,358.00. See supra at n.1.

40. Defendants squandered the proceeds of the sale of the London Property, by increasing

   the amount of the mortgage owed to Defendant Huber Investments Limited and even

   intend to pay out exorbitant fees to Defendant Trident Trust, but the balance sitting in

   escrow is already spoken for, as Defendants are obligated to transfer the funds to the

   plaintiff.

41. To date, Defendant Gerhard Huber has absconded to Tokyo leaving Plaintiff Amy

   Huber with no recourse, other than to hire attorneys in Massachusetts and the United

   Kingdom in order to get what she is owed from Defendants.

42. The Separation Agreement provides for monthly payments from Defendant Gerhard

   Huber to Plaintiff Amy Huber in the amount of $7,000.00 until the Rockport

   Property’s mortgage is paid off.

43. Defendant Huber has not remitted monthly payments to Plaintiff Amy Huber since

   October of 2019, and this payment was only for $5,000.00, for a total arrears of

   $93,000.00.

44. Amy Huber, pursuant to the Sep. Agmt., is entitled to 150% of the amount Defendant

   Gerhard owes her in the preceding paragraph, or $139,500.00.

45. Defendant Gerhard Huber failed to comply with the Sep. Agmt.’s specific terms

   relating to the property he owns as tenants in common with Mr. Leopold Specht,

   located at as 1130 Briggs Street, Dighton, Massachusetts (hereinafter the “Dighton

   Property”).




                                        7
 Case 1:20-cv-12152-NMG Document 1 Filed 12/02/20 Page 8 of 11




46. Defendant’s refusal to comply with the conditions of the Sep. Agmt., as it pertains to

   the Dighton Property, further damages Plaintiff by encumbering the title to the

   Rockport Property, as the Dighton Property’s mortgage is still secured by the

   Rockport Property.

                                    COUNT I
                                Breach of Contract
                               Against all Defendants

47. Plaintiff repeats the allegations contained in the foregoing paragraphs and expressly

   incorporates them herein.

48. Defendants failed to perform the conditions of the Sep. Agmt. in that they failed to

   use the proceeds from the sale of the London Property to pay off the mortgage of the

   Rockport Property in accordance with the Sep. Agmt.; despite, the Plaintiff’s

   demands of the same.

49. Plaintiff has performed all of her conditions under the contract.

50. Plaintiff has suffered harm as a result of the defendants’ breach, including interest on

   the moneys owed to her, late fees and principal and interest on the Rockport

   Property’s mortgage, and other interest and fees she has incurred due to the

   defendants’ breach.

51. The defendants are liable to the plaintiff for her damages.

                                    COUNT II
                                Breach of Contract
                         Against Defendant Gerhard Huber

52. Plaintiff repeats the allegations contained in the foregoing paragraphs and expressly

   incorporates them herein.




                                          8
 Case 1:20-cv-12152-NMG Document 1 Filed 12/02/20 Page 9 of 11




53. Defendant Gerhard Huber failed to perform the conditions of the Sep. Agmt. in that

   he failed to remit monthly payments to Plaintiff Amy Huber in accordance with the

   Sep. Agmt.

54. Defendant Gerhard Huber failed to perform the conditions of the Sep. Agmt. in that

   he failed to comply with the terms relating to the Dighton Property.

55. Plaintiff has performed all of her conditions under the contract.

56. Plaintiff has suffered harm as a result of the defendants’ breach, including interest on

   the moneys owed to her, and other interest and fees she has incurred due to the

   defendants’ breach.

57. The defendants are liable to the plaintiff for her damages.

                                   COUNT III
                                    Conversion
                               Against all Defendants

58. Plaintiff repeats the allegations contained in the foregoing paragraphs and expressly

   incorporates them herein.

59. Plaintiff has demanded Defendants transfer the sale proceeds of the London Property

   to her pursuant to the Sep. Agmt.

60. Defendants are unlawfully retaining the funds owed to the plaintiff from the sale of

   the London Property.

61. Plaintiff has suffered harm, including interest on the moneys owed to her, and other

   interest and fees she has incurred due to the defendants’ breach.

62. The defendants are liable to the plaintiff for her damages.




                                          9
 Case 1:20-cv-12152-NMG Document 1 Filed 12/02/20 Page 10 of 11




                               Relief Sought

WHEREFORE, Plaintiff prays that this Honorable Court:

      A. Enter judgment for the Plaintiff and against Defendants on all Counts;
      B. Award Plaintiff damages in the amount of $699,709.00 (exclusive of costs,
         interest, and attorneys’ fees);
      C. Award Plaintiff her reasonable attorneys’ fees pursuant to the Sep. Agmt.;
      D. Award Plaintiff her costs;
      E. Award Plaintiff interest;
      F. Find that the amount due Plaintiff is fixed and determined together with
         interest, costs, and attorneys’ fees;
      G. Ordering Defendant Gerhard Huber to remove 1 Gap Head Road, Rockport as
         security on the Dighton Property’s mortgage;
      H. Grant the defendant such other relief as is necessary and just.




                                    10
        Case 1:20-cv-12152-NMG Document 1 Filed 12/02/20 Page 11 of 11




                                           Verification

I, Amy Huber do hereby verify that I am familiar with the facts stated within the foregoing
Verified Complaint and state that the facts stated herein are true and accurate to the best of my
information and belief.

         Signed under the pains and penalties of perjury this 1st Day of December, 2020.




                                     ___________________
                                          Amy Huber




                      RESPECTFULLY SUBMITTED December 1, 2020

                                          AMY HUBER
                                          By her counsel,

                                     /s/ Liam T. O’Connell
                                    Liam T. O’Connell, Esq.
                                         BBO # 694477
                                  FARRELL SMITH O’CONNELL
                                 46 Middle Street, Second Floor
                                     Gloucester, MA 01930
                                         (978) 744-8918
                                         (978) 231-8303
                                    loconnell@fsofirm.com


                                         Certificate of Service
                                        I certify there has been
                                     no appearance by Claimants
                                      so there is no one to serve.

                                        /s/ Liam T. O’Connell




                                                  11
